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13
                                  UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
15

16

17
     FEDERAL TRADE COMMISSION,
18                                                    Case No. 3:23-cv-2880
                   Plaintiff,
19                                                    Hearing: As soon as the matter may be heard.
            v.
20
     MICROSOFT CORP.                                  PLAINTIFF FEDERAL TRADE
21                                                    COMMISSION’S NOTICE OF MOTION
     and                                              AND EMERGENCY MOTION FOR
22                                                    TEMPORARY RESTRAINING ORDER
     ACTIVISION BLIZZARD, INC.,                       PURSUANT TO FEDERAL TRADE
23                                                    COMMISSION ACT § 13(b)
                   Defendants.
24                                                    UNREDACTED VERSION OF
                                                      DOCUMENT SOUGHT TO BE SEALED
25

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     PLAINTIFF’S MEM. OF LAW IN SUPPORT OF MOTION FOR A TEMPORARY RESTRAINING ORDER
     CASE NO. 3:23-CV-2880
1                               NOTICE OF MOTION AND MOTION

2           PLEASE TAKE NOTICE that, as soon as the matter may be heard, Plaintiff Federal

3    Trade Commission (“FTC” or “Commission”) shall move and hereby does move the Court for

4    entry of a temporary restraining order (“TRO”) pursuant Federal Trade Commission Act §

5    13(b), 15 U.S.C. § 53(b) and Civil L.R. 7-2 to preserve the status quo while this Court reviews

6    Plaintiff’s Complaint for a Preliminary Injunction Pursuant to FTC Act § 13(b) to prevent

7    Defendant Microsoft Corporation (“Microsoft”) from completing its proposed acquisition of

8    Defendant Activision Blizzard, Inc. (“Activision”) (the “Proposed Acquisition”) or a

9    substantially similar acquisition while the FTC’s review is pending.

10          On December 8, 2022, the FTC commenced an administrative proceeding to determine

11   whether the Proposed Acquisition violates the antitrust laws. The evidentiary hearing in that

12   proceeding will begin on August 2, 2023. The United Kingdom has already issued orders

13   finding the deal anticompetitive under UK competition law and barring its completion.

14   Defendants nonetheless have

15                 , leaving Plaintiff no choice but to file its Complaint to maintain the status quo

16   while the FTC administrative proceeding is pending.

17

18                                . Plaintiff, therefore, respectfully requests this Court enter a TRO

19   prior to 8:59 p.m. Pacific Time on Thursday, June 15, 2023 that prevents Defendants from

20   completing the Proposed Acquisition or a substantially similar acquisition while Plaintiff’s

21   request for a preliminary injunction is pending.

22                                      ISSUE TO BE DECIDED

23          Whether, pursuant to Federal Trade Commission Act § 13(b), 15 U.S.C. § 53(b), the

24   Court should enter a TRO preventing Microsoft and Activision from consummating the

25   Proposed Acquisition or a substantially similar acquisition until after this Court has had the

26   opportunity to adjudicate the FTC’s request for a preliminary injunction.

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2           Defendants will provide no assurances                        , that they will not close the

3    Proposed Acquisition. The FTC is seven weeks away from commencing an evidentiary hearing

4    to evaluate whether the Proposed Acquisition violates U.S. antitrust law. Six weeks ago, the

5    United Kingdom Competition & Markets Authority (“UK CMA”) issued orders finding that the

6    Proposed Acquisition violates UK competition law and barring its consummation (the “UK

7    CMA Orders”). Defendants have stated that they may complete their deal despite the FTC’s

8    upcoming evidentiary hearing and despite the UK CMA Orders. The FTC accordingly filed this

9    case pursuant to FTC Act § 13(b), 15 U.S.C. § 53(b), to preliminarily enjoin Defendants from

10   consummating their Proposed Acquisition pending the outcome of the FTC administrative

11   proceeding. But Defendants will not

12                                                                    . Plaintiff has no choice but to

13   seek—and is entitled to—a TRO pursuant to § 13(b) to preserve the status quo while the FTC’s

14   request for a preliminary injunction is pending.

15          Section 13(b) of the FTC Act provides that “[u]pon a proper showing that, weighing the

16   equities and considering the Commission’s likelihood of ultimate success, such action would be

17   in the public interest, and after notice to the defendant, a temporary restraining order or a

18   preliminary injunction may be granted without bond.” 15 U.S.C. § 53(b). Unlike Federal Rule

19   of Civil Procedure 65(b), Section 13(b) of the FTC Act does not prescribe any time limitations

20   for a TRO. Because Section 13(b) was enacted to preserve the FTC’s ability to order relief upon

21   completion of its administrative proceedings, see H.R. Rep. No. 93-624, at 31 (1973) (Conf.

22   Rep.), as reprinted in 1973 U.S.C.C.A.N. 2523, 2533, courts issue TROs under Section 13(b)

23   for the period of time it takes the court to decide the FTC’s request for a preliminary injunction.

24   See, e.g., FTC v. Intercontinental Exchange, Inc. et al, No. 3:23-CV-01710, Docket No. 39

25   (N.D. Cal. Apr. 21, 2023) (granting FTC’s emergency motion for TRO).

26          “Section 13(b) places a lighter burden on the Commission than that imposed on private

27   litigants by the traditional equity standard.” FTC v. Warner Commc’ns Inc., 742 F.2d 1156,

28
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1    1159 (9th Cir. 1984) (per curiam). “Under this more lenient standard, ‘a court must 1) determine

2    the likelihood that the Commission will ultimately succeed on the merits and 2) balance the

3    equities.’” FTC v. Affordable Media, 179 F.3d 1288, 1233 (9th Cir. 1999) (quoting Warner

4    Commc’ns, 742 F.2d at 1160). In weighing the equities under § 13(b), “public equities receive

5    far greater weight.” Warner Commc’ns, 742 F.2d at 1165. These public equities include

6    effective enforcement of the antitrust laws and ensuring the Commission’s ability to obtain

7    relief if it ultimately prevails on the merits. Id.; FTC v. H.J. Heinz Co., 246 F.3d 708, 726 (D.C.

8    Cir. 2001). Preliminary injunctions under § 13(b) “are meant to be readily available to preserve

9    the status quo while the FTC develops its ultimate case.” FTC v. Whole Foods Market, Inc.,

10   548 F.3d 1028, 1036 (D.C. Cir. 2008); FTC v. Penn State Hershey Med. Ctr., 838 F.3d 327, 352

11   (3d Cir. 2016) (“The purpose of Section 13(b) is to preserve the status quo and allow the FTC to

12   adjudicate the anticompetitive effects of the proposed merger in the first instance.”).

13          These same principles apply to the FTC’s request for a TRO under Section 13(b). See

14   FTC v. Universal Premium Servs. Inc., No. CV 06-0849 SJO, 2006 WL 8442134, at *3 (C.D.

15   Cal. Mar. 14, 2006). The FTC need not “make precisely the same showing at the temporary

16   restraining order and preliminary injunction stages.” FTC v. Exxon Corp., No. 79-1975, 1979

17   WL 1654, at *3 n.6 (D.D.C. July 28, 1979). When, as here, the “factual and legal issues are

18   massive,” and the FTC has had but a short time to prepare its case for a TRO, the FTC “should

19   not be deprived of the opportunity of ‘fleshing out’” its TRO showing at a later hearing on the

20   requested preliminary injunction. Id.

21          Defendants’

22                                                                                   and while the

23   FTC’s antitrust review is still pending, necessitated the filing of this action for a preliminary

24   injunction. Their refusal to wait to complete their transaction while this Court decides whether

25   to grant a preliminary injunction necessitates entry of the requested TRO.

26          Plaintiff’s Complaint and this motion present only a fraction of the evidence collected in

27   the administrative proceeding, and the evidence cited herein is more than sufficient to grant the

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1    requested restraining order. The evidence includes documents and testimony from Defendants

2    and third parties demonstrating the existence of each of the alleged relevant antitrust markets

3    and demonstrating Microsoft’s ability and incentive to use control of Activision content to harm

4    rivals in each of those markets. The evidence includes Microsoft documents and testimony

5    about its most recent multi-billion-dollar acquisition of a video game developer called ZeniMax

6    and its

7              . The evidence includes expert economic analysis concluding that the Proposed

8    Transaction is likely to substantially lessen competition and harm consumers in each of the

9    relevant markets. Plaintiff is entitled to a TRO under FTC Act § 13(b).

10                                    FACTUAL BACKGROUND1

11             On January 18, 2022, Defendants announced the Proposed Acquisition, pursuant to

12   which Defendant Microsoft, which owns Xbox, will acquire Defendant Activision, one of the

13   most valuable video game developers in the world with games such as Call of Duty, Diablo, and

14   Overwatch, in a vertical merger valued at nearly $70 billion that will increase Microsoft’s

15   already considerable power in video games. Compl. ¶ 1. If consummated, the Proposed

16   Acquisition would be the largest in the history of the video game industry and the largest in

17   Microsoft’s history. Id.

18             On December 8, 2022, the Commission found reason to believe that the Proposed

19   Acquisition would substantially lessen competition in violation of Section 7 of the Clayton Act,

20   15 U.S.C. § 18, and Section 5 of the FTC Act, 15 U.S.C. § 45, commenced administrative

21   proceedings before an Administrative Law Judge on the antitrust merits of the Proposed

22

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     1
       References to “Compl.” are to Plaintiff’s Complaint for a Temporary Restraining Order and
25   Preliminary Injunction Pursuant to Section 13(b) of the Federal Trade Commission Act filed
     in this case. The allegations in the Complaint are incorporated herein by reference.
26
     References to Exhibits are to exhibits to the Declaration of Jennifer Fleury in support of this
27   motion.

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1    Acquisition, and set an evidentiary hearing to begin August 2, 2023. Compl. at ¶ 16.2 At that

2    time, the FTC did not seek a preliminary injunction under Section 13(b) of the Federal Trade

3    Commission Act because closing of the Proposed Acquisition was contingent on review of the

4    Proposed Acquisition by various foreign competition authorities, including the UK CMA.

5    Defendants told the FTC administrative law judge at the initial scheduling conference in that

6    matter that Defendants expected that the “deal . . . could go forward and could close” upon

7    approval from authorities in Europe and the UK. Ex. X (Pretrial Conference Transcript, In re

8    Microsoft Corp. & Activision Blizzard, Inc., Docket No. 9412 (FTC Jan. 3, 2023)) at 10.

9    Defendant Microsoft later told this Court that “a deal cannot close – at the moment cannot close

10   until multiple regulatory proceedings go forward.” Ex. W (Transcript of Proceeding, DeMartini

11   v. Microsoft Corp., No. C-22-08991-JSC, 2023 WL 2588173 (N.D. Cal. Jan. 19, 2023)) at 18.

12             The FTC administrative proceeding has moved rapidly. Fact discovery (including thirty-

13   two depositions and document discovery of Defendants and third parties) was completed in

14   April. The parties have completed service of expert reports and have exchanged final witness

15   lists and exhibit lists. Pretrial briefs and motions in limine are due in July. The evidentiary

16   hearing begins on August 2. See Ex. F (Scheduling Order & Amended Scheduling Order, In re

17   Microsoft Corp & Activision Blizzard, Inc., Docket No. 9412 (FTC Jan 4, 2023, May 12,

18   2023)).

19             On April 26, 2023, the UK CMA issued a report finding that the Proposed Transaction

20   violated UK competition law because it was expected to result in a substantial lessening of

21   competition in cloud gaming. Ex. G (UK CMA Orders, including April 26, 2023 Final Report

22   on the Anticipated Acquisition by Microsoft of Activision Blizzard, Inc.). On May 5, the UK

23   CMA entered an interim order, effective as of that date, prohibiting the Proposed Acquisition,

24   and, on May 18, issued a proposed final order that would prohibit any merger or acquisition

25
     2
       In the administrative proceeding, Complaint Counsel—and not the Commission—litigates the
26
     challenge to the Proposed Acquisition. Moreover, the parties to the proposed acquisition are
27   termed “Respondents.” We use “FTC” and “Defendants” here for simplicity of reference.

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1    between Microsoft and Activision for a ten-year period. Ex. G. On May 26, 2023, Defendants

2    noticed an appeal. Ex. E. (Summary of Application for Microsoft’s appeal of the UK CMA’s

3    April 26, 2023 findings).

4           Recent press reports indicate Defendants are considering taking the extraordinary step of

5    consummating the Proposed Acquisition despite the UK CMA Orders. Ex. D (Microsoft is

6    Exploring Options to Close Activision Deal Despite UK Block, MLEX (June 1, 2023)); Ex. H

7    (Microsoft’s Smith Set for Talks with UK Chancellor Over Activision Deal Ban, BLOOMBERG

8    (June 2, 2023)). On May 24, 2023,

9

10

11

12                                                                     On June 2,

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14                       Ex. Z at 11–12. Defendants

15

16                                     Ex. Z at 12. On June 2,

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18          Ex. Z at 9–10.

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21                                  Ex. Z at 8–9.

22          On June 8,

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24                                                                                       . Ex. Z at

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2                                                . Ex Z at 1–7.

3           Despite the Complaint in this Court, the ongoing FTC administrative proceeding, and

4    the UK CMA Orders, Defendants have represented that they may complete the Proposed

5    Acquisition or a substantially similar transaction at any time after

6                                              ARGUMENT

7           Defendants’

8                                     while proceedings before this Court are pending necessitates

9    temporary relief to preserve the status quo. Without preliminary relief, Defendants can complete

10   their deal, which could “preclude effective relief if the Commission ultimately prevails and

11   divestiture is ordered.” Warner Commc’ns, 742 F.2d at 1165. FTC Act § 13(b) accordingly

12   provides that “[u]pon a proper showing that, weighing the equities and considering the

13   Commission’s likelihood of ultimate success, such action would be in the public interest . . . a

14   temporary restraining order or a preliminary injunction may be granted without bond.” 15

15   U.S.C. § 53(b). “Section 13(b) places a lighter burden on the Commission than that imposed on

16   private litigants by the traditional equity standard.” Warner Commc’ns, 742 F.2d at 1159. “The

17   decision whether to grant preliminary relief turns on a determination of the likelihood of the

18   Commission’s success on the merits and on a balance of the equities.” Id. at 1162. While nearly

19   all of the case law applying § 13(b) to merger cases arises in the context of FTC requests for

20   preliminary injunctions—because defendants nearly always stipulate to entry of a TRO—the

21   principles favoring preliminary relief apply with heightened force to Plaintiff’ s request for a

22   TRO, which seeks relief for a more limited duration and purpose than the requested preliminary

23   injunction.3 See, e.g., Exxon, 1979 WL 1654, at *3 n.6.

24
     3
25    While Defendants                                                                  ,
     merging parties commonly stipulate to a temporary restraining order. E.g., Order Granting
26   Stip. (ECF No. 19), FTC v. Meta Platforms Inc., No. 5:22-CV-04325-EJD (N.D. Cal. July
     29, 2022); FTC v. Sanford Health, No. 1:17-cv-133, 2017 WL 10810016, at *1 (D.N.D. Dec.
27   (Continued…)
28
     PLAINTIFF’S MEM. OF LAW IN SUPPORT OF MOTION FOR A TEMPORARY RESTRAINING ORDER
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1           First, the Commission meets its burden of showing a likelihood of success because it

2    “present[s] evidence sufficient to raise ‘serious, substantial, difficult’ questions regarding the

3    anticompetitive effects” of the Proposed Acquisition. Warner Commc’ns, 742 F.2d at 1164.

4    These questions are “fair ground for thorough investigation, study, deliberation and

5    determination by the FTC in the first instance.” Id. at 1162; see also FTC v. Meta Platforms

6    Inc., No. 5:22-CV-04325-EJD, 2022 WL 16637996, at *5 (N.D. Cal. Nov. 2, 2022) (quoting

7    Warner Commc’ns, 742 F.2d at 1162). The purpose of a § 13(b) case “is not . . . to determine

8    whether the antitrust laws . . . are about to be violated.” Whole Foods Mkt., 548 F.3d at 1035

9    (quotation marks omitted) . Rather, “at this preliminary phase [the FTC] just has to raise

10   substantial doubts about a transaction. One may have such doubts without knowing exactly

11   what arguments will eventually prevail.” Id. at 1036. Here, Plaintiff’s Complaint alone suffices

12   to raise merits questions sufficient to warrant “thorough investigation, study, deliberation and

13   determination by the FTC” and to preserve this Court’s ability to provide the requested

14   preliminary injunction. But because fact discovery in the administrative proceeding closed in

15   April, there is even more evidence available that further justifies entry of a TRO.4

16          Second, the equities weigh strongly in favor of granting the requested TRO. In weighing

17   the equities under Section 13(b), “public equities receive far greater weight” than private

18   interests. Warner Commc’ns, 742 F.2d at 1165. This is because preliminary relief under § 13(b)

19   is “meant to be readily available to preserve the status quo while the FTC develops its ultimate

20   case.” Whole Foods Mkt., 548 F.3d at 1036. The public equities include effective enforcement

21   of the antitrust laws and ensuring the Commission’s ability to obtain adequate relief if it

22
     15, 2017); Order Granting Plaintiff’s Mot. for Entry of Stip. Temp. Restr. Order, FTC v.
23   RAG-Stiftung, No. 19-cv-02337, 2020 WL 532980 (D.D.C. Feb. 3, 2020), ECF No. 9.
     4
24     Plaintiff attaches for reference its exhibit list in the administrative proceeding as Ex. I to the
     Fleury Declaration. Plaintiff includes in this Motion citations to a small portion of this
25   evidence. In the event the Court believes a fuller factual record is warranted at the TRO
     stage, Plaintiff requests that the Court enter an interim TRO and set an expedited schedule for
26
     submission of such briefing or evidence from discovery in the FTC administrative
27   proceeding as the Court may find helpful.

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1    ultimately prevails on the merits. Id.; H.J. Heinz, 246 F.3d at 726; FTC v. Univ. Health, Inc.,

2    938 F.2d 1206, 1225 (11th Cir. 1991). Here, the public equities are even stronger because the

3    administrative hearing begins August 2. Allowing Defendants to complete their deal on the eve

4    of the FTC evidentiary hearing would thwart the public’s interest in effective enforcement of

5    the antitrust laws and the Commission’s ability to obtain adequate relief if the Proposed

6    Transaction is unlawful. The only possible harm to private interests from entry of the requested

7    TRO is the modest delay in Defendants’ ability to complete their deal in spite of the UK CMA

8    Order while the FTC’s request for a preliminary injunction is pending before the Court.

9           A.      The FTC Has Raised Merits Questions Sufficient to Warrant Entry of a

10                  Temporary Restraining Order.

11          The FTC administrative proceeding will determine whether the effect of the Proposed

12   Acquisition “may be substantially to lessen competition, or to tend to create a monopoly” in

13   violation of Clayton Act § 7, 15 U.S.C. § 18, and FTC Act § 5, 15 U.S.C. § 45. Warner

14   Commc’ns, 742 F.2d at 1160 (emphasis in original). “It is well established that a section 7

15   violation is proven upon a showing of reasonable probability of anticompetitive effect.” Id. At

16   this stage, the FTC “does not need detailed evidence of anticompetitive effects,” Whole Foods

17   Mkt., 548 F.3d at 1035. Because the issue is a “narrow one,” courts at the preliminary injunction

18   stage—let alone the TRO stage—“do not resolve the conflicts in the evidence . . . or undertake

19   an extensive analysis of the antitrust issues.” Warner Commc’ns, 742 F.2d at 1164; see also

20   Cal. v. Am. Stores Co., 872 F.2d 837, 841 (9th Cir. 1989), rev’d on other grounds, 495 U.S. 271

21   (1990) (“At this stage, we do not resolve conflicts in the evidence.”). To the extent Defendants

22   assert defenses, justifications, or possible remedies for the deal’s illegality that purportedly

23   outweigh or negate Plaintiff’s showing, such assertions are not relevant to the issue of whether

24   to grant a TRO.5

25   5
      To justify denial of preliminary relief, Defendants must dispel any and all “substantial
26   doubts” about the legality of their transaction, such that the court is “certain[]” and has “no
     doubt that [the] merger would not substantially lessen competition.” Whole Foods Mkt., 548
27   (Continued…)
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1           In this case, Plaintiff FTC readily meets the standard for granting preliminary relief, not

2    least because Plaintiff already has developed substantial evidence of anticompetitive effects in

3    relevant antitrust markets.

4              i.   There are multiple relevant markets in which to analyze the Proposed

5                   Acquisition’s competitive effects.

6           Microsoft’s acquisition of Activision for nearly $70 billion will create a vertically

7    integrated firm with substantial assets in video game consoles (via Microsoft’s Xbox consoles),

8    video game subscription services (via Microsoft’s Xbox Game Pass service), video game cloud

9    streaming (via Microsoft’s Xbox Cloud Gaming service), and video game content (via

10   Activision’s video game franchises and Microsoft’s own video game studios). Accordingly,

11   there are several markets relevant to evaluating the Proposed Acquisition’s competitive effects.

12   These relevant markets range from the more established market for video game consoles to

13   newer markets for services that allow gamers to subscribe to a video game library and for

14   services that allow gamers to play games via cloud streaming. On the merits—i.e., in the

15   pending administrative proceeding—the FTC needs to show that the Proposed Acquisition may

16   substantially lessen competition in only one relevant market to meet its burden of showing the

17   Proposed Acquisition’s illegality. FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865, 885

18   (E.D. Mo. 2020) (“[C]ompetitive harm in any relevant product market is enough to make out a

19   prima facie case for violation of the Clayton Act.”).

20          “Determination of the relevant product and geographic markets is a necessary predicate

21   to deciding whether a merger contravenes the Clayton Act.” St. Alphonsus Med. Ctr.-Nampa

22

23   F.3d at 1035. If substantial doubts or serious questions remain, temporary § 13(b) relief is
     appropriate—even if ultimately “post-hearing, the FTC may accept the rebuttal arguments
24   proffered by the [defendants].” H.J. Heinz Co., 246 F.3d 708, 725. Moreover, any putative
     “remedies” Defendants may proffer are irrelevant to determining likelihood of success on the
25   merits. See FTC v. Food Town Stores, Inc., 539 F.2d 1339 at 1345 (4th Cir. 1976). Even if
     they were relevant, such “remedies” also would need to dispel any and all substantial doubts
26
     and serious questions about the transaction’s legality. See Warner Commc’ns, 742 F.2d at
27   1162; Whole Foods Mkt., 548 F.3d at 1036.; H.J. Heinz Co., 246 F.3d at 725.

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1    Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 783 (9th Cir. 2015) (quoting United States v.

2    Marine Bancorporation, Inc., 418 U.S. 602, 618 (1974)). “The relevant product market is

3    determined by examining the reasonable interchangeability of use between the product and

4    substitutes for it.” Warner Commc’ns, 742 F.2d at 1163 (citing Brown Shoe Co. v. United

5    States, 370 U.S. 294, 325 (1962)). Notably, within a broader market, “well-defined submarkets

6    may exist which, in themselves, constitute product markets for antitrust purposes.” Brown

7    Shoe, 370 U.S. at 325. The definition of the relevant market is “dependent upon the special

8    characteristics of the industry involved.” Twin City Sportservice, Inc. v. Charles O. Finley &

9    Co., 676 F.2d 1291, 1299 (9th Cir. 1982). “The overarching goal of market definition is to

10   ‘recognize competition where, in fact, competition exists.’” Meta Platforms, 5:22-cv-04325-

11   EJD, 2023 WL 2346238, at *9 (N.D. Cal. Feb. 3, 2023) (quoting Brown Shoe, 370 U.S. at 326).

12   “The relevant geographic market is the area of effective competition where buyers can turn for

13   alternate sources of supply.” St. Alphonsus, 778 F.3d at 784 (internal quotation marks omitted).

14          “Courts have used both qualitative and quantitative tools to aid their determinations of

15   relevant markets. A qualitative analysis of the relevant antitrust market, including submarkets,

16   involves ‘examining such practical indicia as industry or public recognition of the submarket as

17   a separate economic entity, the product’s peculiar characteristics and uses, unique production

18   facilities, distinct customers, distinct prices, sensitivity to price changes, and specialized

19   vendors.’” Meta Platforms, 2023 WL 2346238, at *9 (quoting Brown Shoe, 370 U.S. at 325).

20   “A common quantitative metric used by parties and courts to determine relevant markets is the

21   Hypothetical Monopolist Test (‘HMT’).” Id.6 The HMT “asks whether a hypothetical

22   monopolist that owns a given set of products likely would impose at least a small but significant

23   and nontransitory increase in price (SSNIP) on at least one product in the market, including at

24   least one product sold by one of the merging firms. If enough consumers would respond to a

25
     6
       See, e.g., Optronic Techs., 20 F.4th at 482 n.1; FTC v. Sanford Health, 926 F.3d 959, 963
26
     (8th Cir. 2019) (“The district court employed the ‘hypothetical monopolist test,’ which is
27   commonly used in antitrust actions to define the relevant market.”).

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1    SSNIP—often calculated as a five percent increase in price—by making purchases outside the

2    proposed market definition so as to make the SSNIP not profitable, then the proposed market is

3    defined too narrowly.” Meta Platforms, 2023 WL 2346238, at *15 (internal quotation marks

4    and citations omitted). In sum, there is “no requirement to use any specific methodology in

5    defining the relevant market.” Optronic Techs., Inc. v. Ningbo Sunny Elec. Co., 20 F.4th 466,

6    482 (9th Cir. 2021).

7           In this case, both the Brown Shoe factors and the HMT independently establish the

8    relevant antitrust markets as defined below.7

9                              1. High-performance consoles are a relevant antitrust product

10                                 market.

11          The latest “Generation 9” high-performance consoles that Microsoft (with its Xbox

12   Series X and S consoles) and its primary video game console competitor Sony (with its

13   PlayStation 5 console) sell comprise a relevant antitrust product for analyzing the competitive

14   effects of the Proposed Acquisition. See Compl. ¶¶ 71–84. In the alternative, even if the relevant

15   product market with respect to video game consoles is broadened to include the Nintendo

16   Switch, the FTC can still meet its burden of showing an antitrust violation given the effects in

17   that broader video game console market. See Compl. ¶ 85. Quantitative and qualitative

18   evidence support the existence of each of these alternative proposed markets as a relevant

19   antitrust market.

20          New generations of video game consoles are released every five to ten years. Compl.

21   ¶ 35. In 2020, Microsoft and Sony launched their respective Generation 9 consoles, the Xbox

22   Series X and Series S and the Sony PlayStation 5. Compl. ¶36. These are the only Generation 9

23   consoles for sale today. Compl. ¶¶ 36, 79. Nintendo is the other large video game console

24
     7
      The Complaint in this action and the FTC’s complaint in the underlying administrative
25   action are identical with respect to the allegations about relevant antitrust markets and
     competitive effects. Although the Complaint and evidence cited therein more than suffices to
26
     meet the standard for obtaining the requested TRO, as further support, Plaintiff includes
27   herein additional evidence discovered during the administrative proceeding.

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1    manufacturer, and it launched its Switch device (which is designed to allow portable, handheld

2    use) in 2017. Compl. ¶ 36. The Nintendo Switch is not a Generation 9 console and is highly

3    differentiated from the Xbox Series X and S and Sony PlayStation 5 consoles. Compl. ¶ 36, 73.

4    The Switch has less computational performance than the Generation 9 high-performance

5    consoles. Compl. ¶ 41. Microsoft’s Xbox Series X and S and Sony’s PlayStation 5 are

6    characterized by greater computational power, different content portfolios, different form

7    factors (they are not portable or handheld), different technical specifications, generally higher

8    prices, and different release cadences than the Nintendo Switch and any other handhold devices.

9    Compl. ¶ 74–79 (detailing evidence). Microsoft and Sony high-performance consoles appeal to

10   different gaming audiences than the Nintendo Switch, with the former being geared to more

11   mature content for more serious gaming and the latter tending to appeal to more casual and

12   family-friendly gaming. Compl. ¶ 81. As one Microsoft executives agreed,

13

14                   Ex. J (                      )) at 34:2–10.

15          Microsoft’s ordinary course documents

16                                                                   . Compl. ¶ 80. For example,

17   Microsoft executives

18

19                                                              . Ex. K (PX1214) at 017.

20          The evidence also supports an alternative broader video game console market

21   comprising consumer devices that are designed for and that are primarily used for playing video

22   games. See generally Compl. ¶ 85. This alternative relevant antitrust market includes Microsoft

23   Xbox Series X and S, Sony PlayStation 5, and Nintendo Switch, as well as other home video

24   game consoles and handheld consoles. Other gaming devices, such as personal computers

25   designed for gaming (“Gaming PCs”) and mobile devices, are properly excluded from even this

26   broader market because they differ from high-performance consoles and the broader set of video

27   game consoles in price, hardware, performance, and functionality. Compl. ¶¶ 83–84. These

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1    devices are not commercially reasonable alternatives to high-performance consoles or to the

2    products (including the Nintendo Switch) that comprise a broader video game console market.

3    Compl. ¶ 83. For example, one of Microsoft’s executives testified in another recent antitrust

4    case that she does not “view the Xbox console as a replacement or substitute” for the iPhone or

5    iPad. Ex. L (Wright (Microsoft) trial testimony, Epic Games, Inc. v. Apple, Inc., No. C-20-5640

6    YGR (N.D. Cal.)) at 537:22-538:18.

7           The expert opinions of Dr. Robin S. Lee, Professor of Economics at Harvard University,

8    further support finding that high-performance consoles (or, in the alternative, video game

9    consoles more broadly) constitute a relevant antitrust market. Dr. Lee’s opening expert report

10   served in the administrative proceeding is attached as Exhibit C to the Fleury Declaration.

11   Among other analyses, Dr. Lee used the HMT framework and reviewed qualitative evidence to

12   evaluate each of these markets. See Ex. C (Lee Report) ¶¶ 172–78. Dr. Lee concluded that both

13   a market comprising high-performance consoles (

14                          ) and a broader video game console market

15                                                                                 ) pass the HMT and

16   constitute relevant product markets for evaluating the competitive effects of the Proposed

17   Acquisition. See Ex. C ¶¶ 179–266.

18          There is ample basis for finding that the FTC has a sufficient likelihood of success (i.e.,

19   has raised substantial enough questions) in proving the existence of at least one of the console

20   markets alleged to be a relevant antitrust market.

21                             2. Multi-game content library subscription services are a

22                                 relevant product market.

23          Multi-game content library subscription services are a relevant product market for

24   evaluating the competitive effects of the Proposed Acquisition. Compl. ¶ 86. This market

25   includes services that offer unlimited access to a library of video games that are predominantly

26   played on non-mobile devices and are available to play at zero additional cost beyond the

27   subscription fee, either via download or cloud streaming. Compl. ¶ 87; Ex. C ¶¶ 123–33.

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1    Microsoft is already a significant player in this market through its Xbox Game Pass offerings

2    and is the market leader in this market, with an announced 25 million Game Pass subscribers,

3    including 13 million subscribers in the US. Compl. ¶ 88; Ex. C ¶ 125.

4             Services in this market seek to offer a new method of accessing video games by offering

5    access to an entire library of games for a periodic fee, rather than requiring gamers to buy

6    individual games for a fixed cost. Compl. ¶ 90; Ex. C fig. 10. Products in this market include

7

8

9              . Ex. C ¶¶ 123–33, 329. Buying individual games in the traditional manner (“buy-to-

10   play”) is not a commercially reasonable substitute and buy-to-play games are properly excluded

11   from this relevant market. Compl. ¶ 92; Ex. C ¶¶ 319–326; 330. Microsoft executives

12

13                                    Compl. ¶ 92.

14            Dr. Lee’s economic analysis also supports finding that this market, which he refers to as

15   “Content Library Services,” constitutes a relevant antitrust market for assessing the competitive

16   effects of the Proposed Acquisition. See Ex. C ¶¶ 328–36. Dr. Lee concluded that products

17   offering content library services impose significant price constraints on one another. See Ex. C

18   ¶¶ 279–91, 332. Content Library Services products offer features that are absent from other

19   gaming services that do not offer a content library. See Ex. C ¶¶ 292–97, 333.

20

21

22

23

24                                                             Ex. C ¶ 333. Qualitative evidence also

25   shows that market participants view content library services as a distinct product segment. See

26   Ex. C ¶ 334. Dr. Lee further concludes that this proposed market satisfies the HMT. See Ex. C

27   ¶ 335.

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1                               3. Cloud gaming subscription services are a relevant product

2                                   market.

3             Cloud gaming services that offer the ability to play predominantly non-mobile video

4    games via cloud streaming also constitute a relevant antitrust market for evaluating the

5    Proposed Acquisition’s competitive effects. Compl. ¶¶ 96–97. Cloud gaming services include

6    both multi-game content library subscription services that offer the ability to play games in the

7    library via cloud streaming, and services that offer streaming via a “bring your own game”

8    (“BYOG”) approach where users stream individual games that they already own. Compl. ¶ 98.

9    Products in this

10

11

12

13                                        . Ex. C ¶ 329.

14            Cloud gaming services are designed to reach a different set of consumers than other

15   forms of game distribution because these services enable gaming on devices, such as cheaper

16   PCs, MacBooks, tablets, and smart TVs, that otherwise do not support playing technically

17   complex games. Compl. ¶ 100. Cloud gaming services accordingly reduce the need for gamers

18   to purchase expensive hardware like a high-performance video game console or a gaming PC.

19   Compl. ¶ 99; Ex. C ¶¶ 298–300. As an executive with one of the leading cloud gaming services

20   averred,

21                                                         Ex. M (                     .) ¶ 9. Cloud

22   gamers                                                                             . Compl. ¶

23   102; Ex. C ¶ 303.

24            Market participants

25

26                                                                . Ex. C ¶ 302 (citing evidence). For

27   instance, a senior cloud gaming executive testified that “                                      .”

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1    Ex. N (                      .) at 63:14-20.

2              Dr. Lee’s opinions also support the conclusion that cloud gaming subscription services

3    constitute a relevant product market for analyzing the competitive effects of the Proposed

4    Acquisition. Ex. C ¶¶ 337–48. For example, Dr. Lee analyzes the substantial qualitative

5    evidence that Microsoft itself

6                                                                 Ex. C ¶ 342 (discussing evidence).

7    He also concludes that a market comprising cloud gaming subscription services satisfies the

8    HMT. Ex. C ¶ 344–48.

9                                4. A combined multi-game content library and cloud gaming

10                                    subscription services market also is a relevant product

11                                    market.

12             As an alternative to two separate content library and cloud gaming markets, a single

13   market that includes products that offer services in either or both of those markets also

14   comprises a relevant antitrust market. For example, Microsoft’s Game Pass Ultimate offers a

15   combination of access to content library and cloud streaming services. The combined market

16   includes

17

18                                                                                                . Ex.

19   C fig. 22.

20             Dr. Lee concluded that this combined market also is a relevant product market. Ex. C ¶¶

21   271–327. His analysis again rests on qualitative and quantitative economic evidence, including

22   evidence that

23

24              Ex. C ¶¶ 279–91. Dr. Lee also analyzed why other types of gaming subscriptions and

25   buy-to-play games are properly excluded from this market. Ex. C ¶¶ 313–26. This combined

26   market also passes the HMT. Ex. C ¶ 327.

27                               5. The United States is the relevant geographic market.

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1           The United States is the relevant geographic market for analyzing the Proposed

2    Acquisition’s competitive effects. Even though “technology knows no borders,” the “area of

3    effective competition” is the United States because the “realities of selling” differ across

4    national borders due to differences including in regulatory regimes, intellectual property

5    considerations, and availability. United States v. Bazaarvoice, 13–cv–00133–WHO, 2014 WL

6    203966, at *27, *68 (N.D. Cal. Jan. 8, 2014). Microsoft Xbox senior executives

7

8             . Ex. K at -024. Consumer preferences and gaming behavior differ across countries—

9    e.g., FIFA soccer games are more popular in Europe, and Call of Duty is more popular in the

10   United States—and Microsoft

11          . Compl. ¶ 106; Ex. Y (PX1074) at 002; Ex. O (                            .) at 317:11–

12   318:2; Ex. Q                     .) at 41:8–41:13.

13            ii.   The Proposed Acquisition may substantially lessen competition in at least

14                  one of the relevant markets.

15          At the administrative proceeding on the merits, the FTC’s burden will be to show that

16   the Proposed Acquisition may substantially lessen competition or tend to create a monopoly.

17   Again, at this stage in this Court, the FTC “just has to raise substantial doubts about a

18   transaction.” Whole Foods Mkt., 548 F.3d at 1036). In a vertical merger, anticompetitive harm

19   may arise from the combined firm having the power to foreclose “competitors of the purchasing

20   firm in the merger from access to a potential source of supply, or from access on competitive

21   terms.” Yankees Ent & Sports Network, LLC v. Cablevision Sys. Corp., 224 F. Supp. 2d 657,

22   673 (S.D.N.Y. 2002). The FTC may meet its initial burden by making a fact-specific showing

23   that the vertical merger poses a reasonably probability of competitive harm. Brown Shoe, 370

24   U.S. at 325.

25          One way for the FTC to make its prima facie case is to present evidence of the combined

26   firm’s ability and incentive to foreclose or disadvantage its competitors. See, e.g., United States.

27   v. AT&T, Inc., 310 F. Supp. 3d 161 at 243-46 (D.D.C. 2018). Another way is to satisfy the

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1    Supreme Court’s Brown Shoe framework. See Brown Shoe, 370 U.S. at 328-29; In re Illumina,

2    Inc., Dkt. No. 9401, 2023 WL 2946882, at *42 (F.T.C. Mar. 31, 2023). Either way, the relevant

3    inquiry does not require proof that the merged firm will actually withhold all of its output from

4    rivals, but rather whether they have the “power to exclude” competing producers from a

5    segment of the market. In re Union Carbide Corp., 59 F.T.C. 614, *19 (1961). Evaluated under

6    either Brown Shoe or in terms of ability and incentive, the FTC has raised substantial doubts

7    about the Proposed Acquisition, which is reasonably likely to substantially lessen competition

8    in the relevant markets by creating a combined firm with the ability and increased incentive to

9    withhold Activision’s valuable gaming content from, or degrade Activision’s content for,

10   Microsoft’s rivals. Compl. ¶ 109.

11                              1. Activision is a leader in developing the most sought after

12                                  content in video gaming that drives product adoption and

13                                  gamer engagement.

14          Activision is a leader among an already limited number of companies able to produce

15   the most expensive, high-quality, popular video game content that generates substantial

16   revenues and drives gamer engagement with video game products and services. Compl. ¶¶ 3–7.

17   Such video game content is commonly referred to in the industry as “AAA” content and

18   constitutes “                                                                     .” Ex. A

19   (                        ) at 38:11–16; see also Compl. ¶ 3; Ex. A at 56:10-13; Ex. R (

20                   ) at 91:23-92:24; Ex. S (                       ) at 97:1-97:18.8 AAA content—

21   including Activision games—drives gamer engagement and purchasing decisions in the relevant

22   markets.

23

24                                                         Ex. B (                             ) at

25   219:3–7. Microsoft estimates that

26   8
      “IH” refers to investigational hearing, the term for sworn testimony taken during the FTC’s
27   pre-complaint investigation.

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1                                 . Compl. ¶ 61. Microsoft strategy documents explain that

2

3                                    Compl. ¶ 62 (alteration in original). Microsoft executives have

4    emphasized

5                                                          . Compl. ¶ 63.

6                                                                        Ex. A at 239:24-240:25.

7             Activision content is particularly valuable in the video game industry. For example,

8    Activision’s Call of Duty franchise consists of a series of AAA games and is, in Activision’s

9    own words, “one of the most successful entertainment franchises of all time,” with total

10   revenues since it first launched in 2003 of more than $27 billion. Compl. ¶¶ 7, 67. In 2020, Call

11   of Duty had more than         million monthly active users. Compl. ¶ 7. Activision develops other

12   AAA gaming content, including its Overwatch and Diablo franchises. Compl. ¶ 5. Activision

13   itself

14                                     Compl. ¶ 66. Activision is, accordingly,

15

16                  See Ex. O (                         .) at 30:17-31:13.

17

18                                                           . Compl. ¶ 115.

19

20   Compl. ¶ 115.

21            Dr. Lee’s economic analysis also supports the conclusion that products in the relevant

22   markets compete by offering valuable and differentiated content, that industry participants

23   acknowledge that such content is important to attracting consumers to these products, and that

24   differentiated and exclusive content has significant effects on sales of products in the relevant

25   markets. See Ex. C ¶¶ 376–406. For example, Dr. Lee

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1                Ex. C ¶¶ 401–06.

2

3                                                         Ex. C ¶ 403.

4                                  2. As the owner of Activision content, Microsoft would have the

5                                     ability to harm rivals in the relevant markets.

6             Activision content

7                                                               . For example,

8                                                                                              . See

9    Ex. C figs. 2 & 3.

10

11               Ex. T (                     ) ¶ 27. “

12                                   ” Id.

13            The Proposed Acquisition would give Microsoft complete control over Activision’s

14   content, thereby giving Microsoft the ability to fully withhold Activision content from rivals,

15   raise rivals’ costs, change the terms and timing of access to Activision content, or degrade the

16   quality of Activision content available on rivals’ consoles and subscription services. Compl. ¶

17   116.

18

19          Ex. A at 63:21-64:3. Microsoft would also have the ability to reduce efforts to optimize

20   Activision content for rival products. Compl. ¶ 120. Currently,

21

22

23                Compl. ¶ 120; Ex. Q at 34:13-34:24.

24            Dr. Lee’s economic analysis corroborates the evidence that

25

26                Ex. C ¶¶ 440–81. Dr. Lee’s analysis confirms that

27

28
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1                                                                                         Ex. C ¶¶

2    445–52. The fact that

3

4                                             Ex. C ¶¶ 453–59.

5                               3. The Proposed Acquisition would increase Microsoft’s

6                                  incentive to disadvantage rivals by withholding or degrading

7                                  Activision content in the relevant markets.

8           In addition to giving Microsoft the ability to harm rivals, the Proposed Acquisition

9    would increase Microsoft’s incentive to disadvantage them in the relevant markets. Gaming is a

10   growing and lucrative market in which Microsoft is well-positioned already. Compl. ¶ 121. The

11   combined firm would be incentivized to disadvantage Microsoft rivals to promote sales of

12   Microsoft’s video gaming products and services. Compl. ¶ 122.

13

14

15   Compl. ¶¶ 123–25; Ex. P (                                 at 68:18–69:11.

16          Dr. Lee’s analysis supports the conclusion that the merged entity would likely have the

17   economic incentive to engage in foreclosure in each of the relevant markets. Ex. C¶¶ 515–97.

18   For example,

19                                                                               Ex. C ¶¶ 549–86.

20   The model predicts that,

21

22

23            Ex. C ¶ 585.

24                              4. Withholding Activision content from, or degrading Activision

25                                 content on, Microsoft’s rivals will harm competition and

26                                 consumers in the relevant markets.

27          The harms to competition and consumers from withholding or degrading Activision

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1    content include reduced consumer choice, reduced product quality, higher prices, and less

2    innovation. Compl. ¶ 131–32. Dr. Lee’s economic analysis demonstrates that the Proposed

3    Acquisition is likely to harm competition and consumers in each of the relevant markets. Ex. C

4    ¶¶ 598–661. For example, Dr. Lee provides a

5

6              . Ex. C ¶¶ 646–55. Dr. Lee also concludes that countervailing factors, including entry

7    or expansion into the relevant markets or purported efficiencies from the Proposed Acquisition,

8    do not suffice to offset the harm to competition. Ex. C ¶¶ 662–84.

9                              5. Microsoft’s statements and past actions indicate that will

10                                 likely act on its incentives to disadvantage rivals by

11                                 withholding or degrading Activision content.

12          Microsoft                                                                     Ex. A at

13   69:14–70:2.

14

15              A Microsoft internal strategy document for its Game Pass subscription service that

16   was circulated to senior executives,

17

18                                                              . Ex. AA (PX1065) at -017; Ex. A at

19   103:6–104:15. And consistent with that strategy, Microsoft previously announced

20                                                                        Compl. ¶ 126.

21          Microsoft’s strategy documents show

22                                                                                                   .

23   For example,

24

25   Ex. U (PX1791) at –013; see also Ex. V (PX1811) at -004.

26          Microsoft’s actions after its last acquisition of a major video game developer exemplify

27   its strategy of making content exclusive. In March 2021, Microsoft acquired ZeniMax Media

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1    Inc., the parent of Bethesda Softworks LLC, another developer and publisher of AAA games.

2    Compl. ¶ 12. After that acquisition was completed, Microsoft announced that several of the

3    newly acquired ZeniMax would become Microsoft exclusives. Compl. ¶ 12. Discovery has

4    revealed that

5

6                                                   . For example,

7

8                                                         . Ex. AB (PX4334) at -001; Ex. AC

9    (PX4375) at -001; Ex. AD (                at 360:13-366:23 (discussing PX4334); Ex. AD at

10   370:13-374:6 (discussing PX4375)].

11          B.       The Equities Weigh in Favor of Temporarily Restraining the Proposed

12                   Acquisition.

13          When balancing the equities here, “public equities receive far greater weight” than

14   private interests. Warner Commc’ns, 742 F.2d at 1165. These public equities include effective

15   enforcement of the antitrust laws and ensuring the Commission’s ability to obtain adequate

16   relief if it ultimately prevails on the merits. Id.; FTC v. H.J. Heinz Co., 246 F.3d 708, 726 (D.C.

17   Cir. 2001); FTC v. Univ. Health, Inc., 938 F.2d 1206, 1225 (11th Cir. 1991).

18          Without a temporary restraint, Defendants may complete their deal and harm both this

19   Court’s ability to order adequate relief in this case and the FTC’s ability to obtain adequate

20   relief if it ultimately concludes that the Proposed Transaction violates the law. Moreover,

21   allowing Defendants to complete their deal on the eve of the FTC evidentiary hearing would

22   thwart the public’s interest in effective enforcement of the antitrust laws. The only possible

23   harm to private interests from entry of the requested TRO is the short delay in Defendants’

24   ability to complete their deal while the FTC’s request for a preliminary injunction is pending

25   before the Court. That modest harm cannot outweigh the public equities.

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     PLAINTIFF’S MEM. OF LAW IN SUPPORT OF MOTION FOR A TEMPORARY RESTRAINING ORDER
     CASE NO. 3:23-CV-2880
                                              23
1                                            CONCLUSION

2           For the forgoing reasons, Plaintiff respectfully requests that the Court enter a TRO

3    before 8:59 p.m. Pacific Time on June 15, 2023, preventing Defendants from consummating the

4    Proposed Acquisition until after 11:59 p.m. Pacific Time on the fifth business day after the

5    Court rules on the FTC’s Complaint in this action, or a date set by the Court, whichever is later.

6

7    Dated: June 12, 2023                                 Respectfully submitted,

8                                                         /s/ James H. Weingarten
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                                                          James Abell
10                                                        Cem Akleman
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11                                                        Michael T. Blevins
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12                                                        Nicole Callan
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24                                                        Counsel for Plaintiff Federal Trade
                                                          Commission
25

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28
     PLAINTIFF’S MEM. OF LAW IN SUPPORT OF MOTION FOR A TEMPORARY RESTRAINING ORDER
     CASE NO. 3:23-CV-2880
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